         Case 1:23-cr-00135-RP Document 127 Filed 08/12/24 Page 1 of 1
                                                                                  FILED
                                                                              August 12, 2024
                                                                           CLERK, U.S. DISTRICT COURT
                                                                           WESTERN DISTRICT OF TEXAS
                           UNITED STATES DISTRICT COURT
                                                                                          JG
                            WESTERN DISTRICT OF TEXAS                   BY: ________________________________
                                                                                                DEPUTY
                                  AUSTIN DIVISION

 THE UNITED STATES OF AMERICA,                 §
                                               §
                                               §
 v.                                            §
                                                   CRIMINAL NO. A-23-CR-135-RP
                                               §
 SAINT JOVITE YOUNGBLOOD                       §
      a.k.a. Kota Youngblood,                  §
                       Defendant.              §
                                               §

                                           ORDER

       The Court, having reviewed the Government’s Response, finds it is with merit.

Accordingly,

       Defendant Saint Jovite Youngblood’s Motion For Acquittal [ECF No. 103] is DENIED

for substantially the reasons contained in the Government’s response.




       SIGNED this 12th day of August, 2024.



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                                                    ROBERT PITMAN
                                                    UNITED STATES DISTRICT JUDGE
